Noah Bishop, Oregon Bar No. 092871
Of Bankruptcy Counsel for Debtor
Law Offices of Alexzander C.J. Adams, PC
14705 SW Millikan Way
Beaverton, OR 97006
noah@acjalaw.com
Fax: (888) 588-5410
Office: (503) 278-5400




                                   UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON


 In Re                                                     ) Case No. 11−35180−PCM13
 RYAN JUSTIN MCDONALD                                      )
 SHAY MARIE MCDONALD                                       ) DEBTORS’ MOTION FOR CONTEMPT
                                                           ) OF BANKRUPTCY COURT ORDER AND
                                                           ) 11 U.S.C. § 105
 Debtor(s)                                                 )

                                                        MOTION
Pursuant to 11 U.S.C. § 105 as well as this Court’s inherent and equitable power, Ryan McDonald
and Shay McDonald (“Debtors”) move for an order of Contempt against Deutsche Bank National
Trust, and their servicer Ocwen Loan Servicing, (hereinafter Creditor) holding that it willfully
violated this Court’s December 2, 2011 Order affixing pre-petition arrearages.


Pursuant to LBR 5010-1(a), Debtors’ current mailing address is 8080 SW Berryhill Ct., Beaverton,
Oregon 97003.


                                               PRAYER FOR RELIEF
Pursuant to LBR 9020-1, Debtors prays for damages and relief as follows:



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                                                                                                         Noah@acjalaw.com
                                                                                                       Fax: (888) 588-5410
                                                                                                      Office: (503) 278-5400
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A. IT IS ORDERED AND ADJUDGED that Deutsche Bank National Trust, and their servicer
Ocwen Loan Servicing, are held in contempt of a Bankruptcy Court Order on December 2, 2011
approving Objection to Claim 13 which fixed the prepetition arrearage owed by Debtors;


B. IT IS ORDERED AND ADJUDGED that Deutsche Bank National Trust, and their servicer
Ocwen Loan Servicing, will pay Debtors actual damages, compensatory damages for their
emotional harm, as well as any other any other equitable relief that this Court may determine is fair
and just;


C. IT IS ORDERED AND ADJUDGED that after a short evidentiary hearing, Deutsche Bank
National Trust, through their current loan servicer Ocwen, Loan servicing must reimburse The Law
Offices of Alexzander C.J. Adams, PC for it’s reasonable attorney fees and costs in this contempt
proceeding.


                                          QUESTION TO BE DECIDED
Does clear and convincing evidence show that Creditor, Deutsche Bank National Trust, and its
servicer Ocwen Loan Servicing, willfully violated this Court’s Order affixing Debtors’ prepetition
arrearages on December 2, 2011? (Yes)


                                                 RELEVANT FACTS
A. Bankruptcy Protection
On June 14, 2011, Debtors sought bankruptcy protection under Chapter 13 of Title 11. See Doc.
11. Creditor was notified through their original servicer, American Home Mortgage Inc., and then
filed a claim in the case through its subsequent loan servicer, Ocwen Loan Servicing. See Doc. 8,
Claim 13-1. Creditor has been an active participant throughout debtor’s bankruptcy through its
loan servicer, Ocwen Loan Servicing. See Docket 13-1, 68, 106.


B. Creditor’s Contempt of the Court Order Sustaining Objection to Claim 13.
On December 3, 2011 the honorable Randall L. Dunn of the United States Bankruptcy Court of
Oregon granted Debtors’ objection to Claim no. 13 in Debtors’ bankruptcy. This order affixed pre-
petition arrearages at $7,402.00. See Doc. 36. On August 17, 2015 the Trustee in Debtors’ case


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    All references to “Doc.” are to the docket in District of Oregon bankruptcy case number 11-35180-pcm13.

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filed a notice of Final Cure Mortgage Payment which stated that the Trustee had paid the full
$7,402.00 arrearage. See Doc. 105. Creditor filed a response to the Notice of Final Cure mortgage
payment, does not dispute that pre-petition debt was paid, but claims that post-petition payments
weren’t made from August 1, 2014 to August 1, 2015 resulting in a post-petition arrearage of
$23,205.76. See Doc 106. Creditor’s own statement provided to Debtors shows that payments
were made from August 1, 2014 to August 5, 2015 but misapplied to older debt. See Exhibit 6. It
appears that by February 21, 2013, Creditor considered Debtors nine months behind on payments.
See Id. Creditor’s own records dispute that these payments are missing. Creditor believed Debtors
were behind 9 months because it applied post-petition payments to pre-petition debt in violation of
the Court Order entered on December 2, 2011. Creditor is either incapable of following Court
orders or attempting to double dip on recovering pre-petition debt during the bankruptcy.


D. Debt Collection
Creditor chose to ignore the Bankruptcy Court Order fixing the value of the post-petition
arrearages, entered August 11, 2015, and attempted to collect in excess of the agreed upon
arrearage causing Debtors to face foreclosure. See Doc. 34 and Exhibit 1. The money Creditor
demanded also included sums that were owed prepetition and then incorrectly “paid” with post-
petition payments instead of through Creditor’s proof of claim. See Exhibit 6. Therefore, Creditor
also chose to ignore the Bankruptcy Court Order fixing the value of pre-petition arrearages, entered
December 2, 2011, and attempted to collect in excess of the agreed upon arrearage causing Debtors
to face foreclosure. See Exhibit 1 and 6. The Bankruptcy Court Order entered on December 2,
2011 was specifically designed to prohibit this sort of post-bankruptcy misappropriation of Debtors
payments by making a final determination of the prepetition arrearage. See Doc. 34. Creditor is
not allowed to ignore an unambiguous Bankruptcy Court Order, affixing arrearages, once the
Bankruptcy is over or else they render the whole process of filing Bankruptcy meaningless.


When asked for an explanation, Creditor found nothing wrong with using post-bankruptcy
payments on debt already satisfied through a Chapter 13 bankruptcy. See Exhibit 2. Debtors were
even turned over to a collection company on January 11, 2016 who commenced pre-foreclosure
collection activities and loss mitigation. See Exhibit 3. Almost two years later Debtors still fear
the impending loss of their home due to the incompetency of their loan servicer – even though
Debtors successfully completing a Chapter 13 bankruptcy specifically to avoid such a situation.


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Creditor has still, at no point, provided a correct accounting of Debtors’ mortgage reflecting the
proper application of their payments. The misapplication of post-petition payments to prep-petition
debt already being paid through the plan means that Creditor’s subsequent attempts to collect post-
petition debt are, in reality, attempts to collect pre-petition debt. Creditor can’t misuse payments
and then claim that’s incorrect use makes the resulting debt post-petition.


E.        History of the Case
Debtors have seen two Bankruptcy Judges in charge of administering their case retire from the
bench while Debtors still wait for an end to their bankruptcy. Debtors appeared to have
successfully completed a Chapter 13 bankruptcy and Creditor chose to reward them by attempting
to take Debtors’ house. See Exhibit 3 and Doc. 111. Debtors’ attorney has gone above and
beyond in attempting to reconcile Debtors’ payments with Creditor’s increasingly unreliable
accounting. See Doc. 80 and Exhibit 2. It appears to be common practice that Creditor expects
Debtors and their counsel to do Creditor’s research for them in order to determine how much of
Debtors’ money it has received. See Id. At no time has Creditor provided a reliable accounting
and there has been a motion for contempt pending for more than one year and four months. At one
point it appeared that Debtors’ had reached an agreement with Creditor, but Creditor admitted that
it had agreed to a stipulated order without understanding it. See Doc. 181 at 12:00-12:45.


It was over two years ago Debtors received their discharge and Creditor still has not fixed its
accounting problems. The issues in this case stem from an unresponsive Creditor which prefers to
deal with issues at the last possible second. This has resulted in a bankruptcy case with 219 docket
entries. See Docket. Debtors’ counsel has expended more than three times the amount of time on
this case than any other case it has litigated. This case has gone on too long and the fault lies solely
with Creditor.


                                    LEGAL POINTS AND AUTHORITIES


          I. Legal Standard for Contempt
          To obtain an order of contempt for violation of an order for relief, a debtor must prove that
a party had knowledge of the order and intended the conduct that violated the order. See, e.g.,
ZiLOG, Inc. v. Corning, 450 F.3d 996, 1007 (9th Cir. 2006). To recover sanctions against a
creditor for contempt, a debtor must establish the violation with clear and convincing evidence.

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Renwick v. Bennett, 298 F.3d 1059, 1069 (9th Cir. 2002). A contempt proceeding in bankruptcy
court is properly brought by motion. Barrientos v. Wells Fargo Bank, 633 F.3d 1186, 1191 (9th
Cir. 2011); Fed. R. Bnkr. P. 9020.


                                                     I. CAUSE OF ACTION
                                                        11 U.S.C. § 105(a).
11 U.S.C. § 105 empowers bankruptcy courts to award Debtors compensatory civil contempt
remedies for violations of Court Orders even without a showing of willfulness. These remedies
include an order of contempt, compensatory damages, attorney’s fees and costs, and mild
sanctions. See, e.g., Knupfer v. Lindblade (In re Dyer), 322 F.3d 1178, 1193 (9th Cir. 2003); Walls
v. Wells Fargo Bank, 276 F.3d 502, 507 (9th Cir. 2002). The ability of the court to sanction a party
for violation of its orders is central to administration of bankruptcy estates and must therefore be
considered a core proceeding. 28 U.S.C. § 157(b)(2)(A).
          Creditor violated the Court’s Order affixing pre-petition arrearages. See Doc. 36.


                                                      ARGUMENT


On December 3, 2011 the honorable Randall L. Dunn of the United States Bankruptcy Court of
Oregon granted Debtors’ objection to Claim no. 13 in Debtors’ bankruptcy. This order affixed pre-
petition arrearages at $7,402.00. See Doc. 36. On August 11, 2015 the honorable Judge
McKittrick of the U.S. Bankruptcy Court of Oregon signed an order fixing, as a final
determination, arrearages for Debtors’ mortgage at $4,795.63 which included attorney fees of
$826.00. This was to be paid in monthly installments of $799.27 commencing May 15, 2015 and
ending October 15, 2015. Debtors were also responsible for making an ongoing monthly payment
of $1,659.63. See Doc. 103. Debtors’ entire arrearage in this bankruptcy case, both post-petition
and pre-petition, totals $12,197.63. See Doc. 36 and 103.


On August 31, 2015 Creditor filed a response to the Notice of Final Cure mortgage payment
claiming an arrearage in the case of $21,575.19. See Doc 106. This arrearage is $9,377.56 more
than the arrearage Court ordered in the plan and discounts all payments made by the Chapter 13
Trustee to Creditor. Creditor continually provides conflict records of Debtors payments. See
Exhibit 6 and 7. Creditor is attempting to collect pre-petition debt in contravention of Bankruptcy


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Court Orders. See Doc. 36, 103, 106. It also appears that Creditor is using the threat of foreclosure
post-petition to collect pre-petition debt. See Exhibit 1.


Debtors’ attorney has gone above and beyond in attempting to reconcile Debtors payments with
Creditor’s increasingly unreliable accounting. See Doc. 80 and Exhibit 2. It appears to be
common practice that Creditor expects Debtors to do Creditor’s research for them in order to
determine how much of Debtors’ money they have received. See Id. This creates an unfair burden
to Debtors and Debtors’ attorney as they are being required to do the work of a loan servicer, the
very purpose for which Deutsche Bank National Trust purportedly hired Ocwen Loan Servicing.


Creditor has willfully violated the Court’s initial Order affixing the amount of prep-petition
arrearage and then violated the Court’s subsequent Order affixing post-petition arrearage by
applying payments to already satisfied pre-petition debt. This is part of a clearly demonstrable
pattern of poor accounting and bad management designed to harass Debtors. Creditor required
Debtors and Debtors’ Counsel to invest many hours in hearings to get a final determination of
liability only to treat each order with contempt, in one case less than three weeks after it was
issued. Creditor’s violations are regular, continued, and unchanged. Creditor has disseminated
erroneous documents, ignored Court orders, and acted above the law. Its attempt to collect pre-
petition debt through the misapplication of post-petition payments subverts the reason Debtors filed
bankruptcy. Despite the fresh start they were promised in return for successfully completing their
Chapter 13 bankruptcy, Debtors live in constant fear of losing their home.


                                                     CONCLUSION
Under 11 U.S.C. § 105 as well as this Court’s inherent and equitable power, Debtors respectfully
requests entry of an order holding Creditor, Deutsche Bank National Trust, and their servicer,
Ocwen Loan Servicing, in contempt of this Court’s order affixing prepetition arrearages and entry
of a money judgment awarding Debtors their costs, fair compensation for their emotional harm to
be proved at trial and, further, this Court should sanction Creditor in an amount not to exceed
$150,000.00 so it becomes profitable for it to implement procedures that will avoid these types of
violations in the future.




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After an evidentiary hearing, Debtors request entry of a money judgment awarding the Law Offices
of Alexzander C. J. Adams P.C. reimbursement of it’s reasonable attorney fees and costs in this
contempt proceeding and all prior hearings related to the underlying issue.


Debtors reserve the right to bring non-bankruptcy claims related to the behavior of Deutsche Bank
Trust and their servicer, Ocwen Loan Servicing, in separate non-bankruptcy legal actions.


                                                             DATED: November 1, 2017


                                                             /s/ Noah Bishop on behalf of
                                                             Alexzander CJ Adams
                                                             Noah Bishop, OSB #092871




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